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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: June 20, 2018



________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In re:                                 :
                                       : Case No. 17-54061
MICHAEL ANDREW NEUBIG,                 :
                                       : Chapter 7
                  Debtor.              :
______________________________________ : Judge C. Kathryn Preston
                                       :
CAPTURE EDUCATIONAL
CAPTURE   EDUCATIONALCONSULTING
                             CONSULTING: : Adv.
                                            Adv.Pro.
                                                 Pro.No.
                                                     No. 17-02150
                                                         17-02150
SERVICES, INC.,                        :
                                       :
                  Plaintiff,           :
                                       :
      v.                               :
                                       :
MICHAEL ANDREW NEUBIG,                 :
                                       :
                  Defendant.           :

                                  STIPULATED JUDGMENT

         Plaintiff Capture Educational Consulting Services, Inc. (“Capture”)
                                                                 ("Capture") and Defendant

Michael Andrew Neubig (“Neubig”)
                      ("Neubig") (collectively the “Parties”)
                                                   "Parties") hereby stipulate to entry of

judgment as follows:




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        1.     The Court has jurisdiction
               The Court     jurisdiction to consider this
                                          to consider this matter
                                                           matter under
                                                                  under 28
                                                                        28 U.S.C.
                                                                           U.S.C. §§ 157 and

1334.

        2.
        2.     This is a core proceeding under 28 U.S.C. § 157(b).

        3.
        3.     Venue of this adversary proceeding in this district and before this Court is proper

under 28 U.S.C. §§ 1408 and 1409.

        4.     On June 26, 2017, Neubig filed a voluntary petition for relief under
                                                                              under Chapter
                                                                                    Chapter 77 of

Title 11 of the United States Code (the "Bankruptcy
                                        “Bankruptcy Code")
                                                    Code”) commencing case no. 17-54061 (the

“Bankruptcy Case”)
"Bankruptcy Case") in the United
                          United States Bankruptcy
                                        Bankruptcy Court     Southern District
                                                   Court for Southern District of Ohio (the

“Bankruptcy Court”).
"Bankruptcy Court").

        5.
        5.     On October 2, 2017, Capture filed a complaint commencing adversary proceeding

no. 17-2150 in the Bankruptcy Court (the “Adversary
                                         "Adversary Proceeding”)
                                                    Proceeding") against Neubig for entry of a

judgment for
judgment for damages
             damages caused
                     caused to
                             to Capture
                                Capture by
                                        by Neubig
                                           Neubig and
                                                  and a finding
                                                         finding that
                                                                 that such
                                                                      such judgment
                                                                            judgment is

nondischargeable pursuant to sections 523(a)(2), (a)(4), and (a)(6) of the Bankruptcy Code.

        6.
        6.                      answer the complaint
               Neubig failed to answer     complaint in the
                                                        the Adversary
                                                            Adversary Proceeding, resulting in

the entry of his default on February 22, 2018 (Doc. 13).

        7.     Capture filed
               Capture filed a Motion
                               Motion for Default
                                          Default Judgment,
                                                  Judgment, which
                                                            which is
                                                                   is set    come before the
                                                                      set to come

Bankruptcy Court on June 19, 2018;

        8.
        8.     The Parties have reached a settlement of the Adversary
                                                            Adversary Proceeding evidenced by

a settlement agreement entered into by the Parties and dated as of June 15, 2018 (the "Settlement
                                                                                      “Settlement

Agreement”), attached
Agreement"), attached hereto
                      hereto as
                             as Exhibit
                                Exhibit A. Capitalized terms
                                        A. Capitalized  terms used
                                                              used herein
                                                                    herein without
                                                                           without definition
                                                                                   definition

shall have
shall have the meanings attributed
           the meanings attributedtoto them
                                        them in
                                              in the
                                                 the Settlement
                                                     Settlement Agreement.
                                                                Agreement. As part of their
                                                                           As part     their

settlement, the Parties have agreed that the payments and obligations outlined in the Settlement

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Agreement are
Agreement are to be secured
                    secured by aa nondischargeable
                                  nondischargeable judgment
                                                   judgment granted
                                                            granted and
                                                                    and entered
                                                                        entered in
                                                                                in favor
                                                                                   favor of

Capture and
        and against
            against Neubig
                    Neubig for
                           for the
                               the sum
                                   sum of $750,000.00
                                          $750,000.00 (the
                                                      (the “Judgment”). The Judgment
                                                           "Judgment"). The Judgment shall

be entered but shall become
                     become subject
                            subject to execution by
                                    to execution by or
                                                    or on behalf
                                                          behalf of Capture
                                                                    Capture only
                                                                            only as set forth
                                                                                        forth

herein. Notwithstanding
herein.  Notwithstanding the preceding
                             preceding sentence,
                                       sentence, Capture
                                                 Capture may
                                                         may request
                                                             request that
                                                                      that the
                                                                           the Clerk
                                                                               Clerk of this

Court issue a certificate of judgment to any relevant Ohio court under
                                                                 under the applicable
                                                                           applicable provisions

of section 2329.02 of the Ohio Revised Code.

        9.     The Judgment will
               The Judgment will be
                                 be subject
                                    subject to execution by
                                            to execution by or
                                                            or on behalf of Capture
                                                               on behalf    Capture or its

successor in interest under the Settlement
successor                       Settlement Agreement
                                           Agreement if Neubig
                                                        Neubig defaults
                                                               defaults under
                                                                        under the terms of the

Settlement Agreement. Pursuant
                      Pursuant to
                               to the
                                   the terms
                                       terms of
                                             of the
                                                the Settlement
                                                    Settlement Agreement, in the event:

                   ••   Neubig fails to timely make an Installment Payment;

                   ••   Neubig fails to timely make the Balloon Payment; and/or

                   ••   Neubig fails to timely transfer the Shares to Capture;


then Neubig shall be in default.

        10.
        10.    Pursuant to
               Pursuant to the terms of the
                           the terms     the Settlement
                                             Settlement Agreement,
                                                        Agreement, in
                                                                    in the event of aa default,
                                                                       the event       default,

Capture may
Capture may provide
            provide Neubig
                    Neubig with
                           with aa written
                                   written default
                                           default notice
                                                   notice (a
                                                           (a “Default
                                                              "Default Notice”). Neubig shall
                                                                       Notice"). Neubig

have 7 days from the
                 the date the
                          the Default
                              Default Notice
                                      Notice isis sent
                                                   sent to
                                                         to cure
                                                            curethe
                                                                 thedefault
                                                                     default(the
                                                                             (the“Cure
                                                                                  "CureDeadline”).
                                                                                       Deadline"). If

    default is not fully cured by the Cure Deadline, then Capture shall be entitled to pursue all
any default

statutory and other rights of execution upon the Judgment in the full amount thereof.

        11.
        11.    If Neubig performs in full under the Settlement
                                                    Settlement Agreement within the times and

                  forth in
in the manner set forth in the
                           the Settlement
                               Settlement Agreement,
                                          Agreement, then this Judgment shall become null and

void.



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        12.     Neubig waives the filing of military affidavits, or notice of entry of the Judgment

in accordance with any local, state or federal rules.

        13.
        13.     This Judgment may be
                                  be executed
                                     executed in
                                              in any
                                                 any number
                                                     number of
                                                            of counterparts.
                                                               counterparts. Each counterpart

                   be an
shall be deemed to be an original
                         original and
                                  and when
                                      when taken
                                            taken together
                                                   together with
                                                            with the
                                                                  the other
                                                                      other signed
                                                                             signed counterparts
                                                                                    counterparts

shall constitute
shall constitute one
                 one instrument,
                     instrument, which
                                 which shall
                                        shall be
                                              be binding
                                                 binding and
                                                         and effective
                                                             effective as
                                                                        as to
                                                                           to the Parties to this
                                                                              the Parties

Judgment. This
          This Judgment
                Judgment may
                         may be
                             be brought
                                brought into
                                         into effect
                                              effect by
                                                     by facsimile
                                                        facsimile or electronic
                                                                     electronic signature, which

shall be treated as an original.
                       original

        14.
        14.     This Judgment is
                This Judgment    entered in to pursuant
                              is entered       pursuant to
                                                        to the
                                                            the Settlement
                                                                 Settlement Agreement
                                                                            Agreement and the

settlement negotiated
           negotiated by
                      by the
                         the Parties. Each of
                             Parties. Each of the
                                               the Parties
                                                   Parties hereto
                                                           hereto specifically
                                                                  specifically warrants having full

authority to execute and enter into this Judgment and agrees to execute
authority                                                       execute and deliver such other

additional agreements, instruments and documents, as may reasonably be necessary or requested,

to effectuate the intention, purpose, terms and conditions of this Judgment.

        15.
        15.     All of the terms of this Judgment shall be binding upon and inure to the benefit of,

and be enforceable by, the Parties hereto.

        16.
        16.     No waiver of any term, covenant or condition of this Judgment shall be construed

                   other term,
as a waiver of any other term, covenant or condition,
                                           condition, nor shall any waiver of any default under

this Judgment
     Judgment be
              be construed
                 construed as
                           as a continuing
                                continuing waiver
                                           waiver of
                                                  of any
                                                     any term,
                                                         term, condition
                                                               condition or
                                                                         or covenant
                                                                            covenant or
                                                                                     or as a

waiver of any other default.
waiver              default. Furthermore,
                              Furthermore, in
                                           in the
                                               the event
                                                   event any
                                                         any portion
                                                             portion of
                                                                     of this
                                                                         this Judgment
                                                                              Judgment is
                                                                                       is found,
                                                                                          found,

judicially or
judicially    otherwise, to
           or otherwise, to be unlawful,
                               unlawful, void
                                         void or,
                                              or, for
                                                   for any
                                                        anyother
                                                            otherreason,
                                                                  reason,unenforceable,
                                                                          unenforceable, that
                                                                                          that

provision shall
provision  shall be deemed severable
                 be deemed severablefrom
                                     from this
                                           this Judgment
                                                Judgmentand
                                                         and the
                                                              the invalidity
                                                                  invalidityor
                                                                             or lack
                                                                                lack of

enforceability shall
enforceability shall not
                     not affect
                         affect the validity
                                    validity and enforceability
                                                 enforceability of the remaining
                                                                       remaining portions
                                                                                 portions of this

Judgment.

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       17.
       17.     This Court shall retain jurisdiction to resolve any disputes or controversies arising

from     related to
from or related  to the
                     the Settlement
                          Settlement Agreement
                                     Agreement or this Stipulated
                                               or this Stipulated Judgment
                                                                  Judgment and
                                                                           and to hear and
                                                                               to hear and

determine all
determine all matters arising
                      arising from or related to the
                                                 the interpretation
                                                      interpretation or the implementation
                                                                             implementation of the

Settlement
Settlement Agreement
           Agreement or
                     or this
                        this Judgment.
                             Judgment. The
                                       The Parties
                                           Parties hereby
                                                   hereby consent
                                                          consent to     jurisdiction of the
                                                                  to the jurisdiction

Bankruptcy Court
Bankruptcy Court to enter final orders to resolve
                 to enter                  resolve any
                                                   any disputes
                                                       disputes or
                                                                or controversies
                                                                    controversies between
                                                                                  between the

Parties hereto arising from or related to the Settlement Agreement or this Judgment. Any motion

or application brought before the Bankruptcy Court to resolve a dispute arising from or related to

the Settlement Agreement or this Judgment shall be brought on proper notice in accordance with

the relevant
the relevant Local
             Local Rules
                   Rules of
                         of Bankruptcy
                            Bankruptcy Practice
                                       Practice and
                                                and Procedure
                                                    Procedure of
                                                              of the
                                                                  the Bankruptcy
                                                                       Bankruptcy Court.
                                                                                  Court.

Nothing in the Settlement
Nothing        Settlement Agreement
                          Agreement or this
                                       this Judgment,
                                            Judgment, however,
                                                      however, shall prevent Capture from

obtaining aa certificate
obtaining    certificate of judgment
                             judgment from the
                                           the Bankruptcy
                                               Bankruptcy Court, from
                                                                 from having
                                                                      having the
                                                                              the Stipulated
                                                                                  Stipulated

Judgment or a certificate of judgment recognized as a foreign judgment in another court, or from

pursuing proceedings
pursuing proceedingsinin aid
                         aid of execution under
                             of execution under state
                                                state law    any jurisdiction
                                                      law in any  jurisdiction where
                                                                               where such
                                                                                     such a

certificate of judgment has been filed or the Stipulated Judgment has been recognized.

       18.
       18.     Neubig agrees
               Neubig agrees that neither this Judgment,
                             that neither      Judgment, nor any
                                                             any provision
                                                                 provision of the
                                                                               the Settlement
                                                                                    Settlement

Agreement, constitutes a penalty.

       Accordingly, the
       Accordingly,  the Court
                         Court hereby
                               hereby enters
                                      enters final
                                             final judgment
                                                   judgment in favor of Capture
                                                            in favor    Capture and
                                                                                and against
                                                                                    against

Neubig in the amount
Neubig        amount of
                     of $750,000.00
                        $750,000.00 and fmds
                                        finds that
                                               that same
                                                     same isis nondischargeable
                                                                nondischargeable under
                                                                                 under sections
                                                                                       sections

523(a)(2), (a)(4), and (a)(6) of
                              of the
                                 the Bankruptcy
                                     Bankruptcy Code.
                                                Code. Each side to bear its own costs.

IT IS SO ORDERED.

Copies to:
Victoria E. Powers (electronic service)
Daniel M. Anderson (electronic service)
Michael Andrew Neubig, 6977 Dean Farm Road, New Albany, OH 43054

                     [The Parties’ signatures appear
                          Parties' signatures appear on the following pages]


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  Acknowledged and Agreed:


                                              MICHAEL AN W NEUBIG

                                              By:
                                                                      11./
                                             Name:      prick(' 0€'11)


  STATE OF OHIO
                                                       SS:
  COUNTY OF


         On this Ibty of June, 2018, before me, a Notary Public in and for said State, personally
  appeared MICHAEL ANDREW NEUBIG and in my presence acknowledged that he is duly
  authorized to execute the foregoing Stipulated Judgment, and he did sign and swear to the
  foregoing Stipulated Judgment before me and acknowledged that the same is his free and
  voluntary act and deed.

         In Witness Whereof, I have hereunto set my hand a d fficial seal.
                                                                      IN
                                                       Notary Public/
                                                       My Commission Expires:      IQ' A"



                                                                                 VICTORIA E. POWERS
                                                                                      Attorney at Law
                                                                                Notary Public. State of Ohio
                                                                             My Commission Has No byinNion
                                                                                   Section 147.03 N.C.




                           [Signature page for Michael Andrew Neubig]




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   Acknowledged and Agreed:

   CAPTURE EDUCATIONAL CONSULTING SERVICES, INC.

   By:
          Board Chairman
   Its:
            Daniel H. Quigg
   Name:



   STA I h. OF OHIO
                                                         SS:
   COUNTY OF       fra,r) kt
          On this LL day of June 2018, before me, a Notary Public in a for said State, personally
   appeared 00..Y) aIt CoN as                   Cura         NAV      of Capture Educational
   Consulting Services, Inc., ahilui.n my presence acknowledged that he/she is duly authorized to
   execute the foregoing Stipulated Judgment on behalf of Capture Educational Consulting
   Services, Inc., and did sign and swear to the foregoing Stipulated Judgment before me and
   acknowledged that the same is the free and voluntary act and deed of Capture Educational
   Consulting Services, Inc.

           In Witness Whereof, I have hereunto set my hand and officia


                                                         Notary Public                       reset, i
                                                         My Commission Expires:         ti (:ofr,f




                  [Signature page for Capture Educational Consulting Services, Inc.]




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                               EXHIBIT A
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                                  SETTLEMENT AGREEMENT

        This Settlement Agreement (the "Agreement"), dated as of June 15, 2018 (the "Effective

 Date"), is by and among Michael Andrew Neubig, an individual ("Neubig"), and Capture

 Educational Consulting Services, Inc., a Delaware corporation ("Capture") (Neubig and Capture

  are each a "Party" and collectively are the "Parties").

                                             RECITALS

        WHEREAS, Neubig is a former officer of Capture;

        WHEREAS, Capture's records reflect that Neubig holds 733,352.4054 shares of Capture

  common stock and 366,676.2027 shares of Capture preferred A stock;

        WHEREAS, Capture's records reflect that Neubig's wife Caroline Neubig holds, through

 EduGreat LLC, 10,981.7345 shares of Capture preferred A stock;

        WHEREAS, on June 26, 2017, Neubig filed a voluntary petition for relief under Chapter 7

  of Title 11, United States Code (the "Bankruptcy Code") commencing case no. 17-54061 (the

 "Bankruptcy Case") in the United States Bankruptcy Court for Southern District of Ohio (the

 "Bankruptcy Court");

        WHEREAS, on October 2, 2017, Capture filed a complaint commencing adversary

  proceeding no. 17-2150 in the Bankruptcy Court (the "Adversary Proceeding") against Neubig

  entry of a judgment for damages caused to Capture by Neubig and a finding that such judgment

  is nondischargeable pursuant to sections 523(a)(2), (a)(4), and (a)(6) of the Bankruptcy Code;

        WHEREAS, Neubig failed to answer the complaint in the Adversary Proceeding, resulting

  in the entry of his default on February 22, 2018;

        WHEREAS, Capture filed a Motion for Default Judgment, which is set to come before the

  Bankruptcy Court on June 19, 2018;

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        WHEREAS, Capture and Neubig desire to settle the Adversary Proceeding to avoid the

  time and expense of further litigation;

        NOW, THEREFORE, in consideration of the mutual promises set forth in this Agreement

  and for other good and valuable consideration, the receipt of which is by this Agreement

  acknowledged, the Parties agree as follows:

                                            AGREEMENT

           1.    Recitals Incorporated. The foregoing recitals, prefatory phrases and paragraphs

  (the "Recitals") are incorporated by reference into and expressly made part of this Agreement,

  and the Parties represent and warrant that, as to the matters within their respective knowledge,

  the foregoing Recitals are true and accurate.

           2.    Agreed Settlement Terms. The Parties agree to all of the following settlement

  terms:

                 a.       Settlement Payment. Neubig agrees to pay Capture the aggregate amount

  of $325,000 (the "Settlement Amount"), in installments totaling $42,000.00 over five years (the

  "Installment Payments" and each an "Installment Payment"), followed by a balloon payment of

  $283,000.00 (the "Balloon Payment"). Each Installment Payment shall be due on the fifteenth

  (15th) day of each month beginning on July 15, 2018 according to the following schedule:

                      •   $300.00 per month for months 1 through 12;
                      •   $500.00 per month for months 13 through 24;
                      •   $700.00 per month for months 25 through 36;
                      •   $900.00 per month for months 37 through 48; and
                      •   $1,100.00 per month for months 49 through 60.
  The Balloon Payment shall be due on or before June 15, 2023. To be timely, Capture must

  receive each Installment Payment and the Balloon Payment on or before the date said payment is

  due. Neubig may pay any amount due under this Agreement in advance of its due date without
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  penalty. Neubig shall make each Installment Payment and the Balloon Payment by certified

  check or money order delivered to Capture at the mailing address provided for in Section 3 of

  this Agreement, or by wire transfer to an account approved of by Capture in writing.

                 b.       Return of Shares. Contemporaneously with his execution of this

  Agreement, Neubig shall transfer and deliver to Capture all shares of Capture stock held directly

  or indirectly by him, his wife, or any family member (with the exception of Brady Churches), or

  by any entity that the preceding persons own or are affiliated with, including, without limitation,

  the shares described in the Recitals (the "Shares"), and by signing this Agreement, relinquishes,

  on his behalf and on behalf of his wife and any entity with an interest in the Shares, all

  ownership, right, title, and interest in and to the Shares. Neubig represents and warrants that the

  Shares have not been and will not be transferred except as provided for by this Agreement, and

  that he has the authority to authorize the transfer and relinquishment of rights set forth in this

  paragraph.

                 c.       Stipulated Judgment.       The Parties agree to entry in the Adversary

  Proceeding of a nondischargeable judgment of $750,000.00 in favor of Capture and against

 Neubig in substantially the form attached hereto (the "Stipulated Judgment"). If in the event:

                      •   Neubig fails to timely make an Installment Payment;

                      •   Neubig fails to timely make the Balloon Payment; and/or

                      •   Neubig fails to timely transfer all of the Shares to Capture;

  then Neubig shall be in default of this Agreement (a "Triggering Default"). In the event of a

  Triggering Default, Capture may provide Neubig with a written default notice (a "Default

 Notice"). The Default Notice shall be provided to Neubig in the manner set forth in Section 3 of

 this Agreement. Neubig shall have 7 days from the date a Default Notice is sent to cure the

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  default (the "Cure Deadline"). If any default is not fully cured by the Cure Deadline, then

 Capture shall be entitled to pursue all statutory and other rights of execution upon the Stipulated

 Judgment in the full amount thereof. Nothing in this paragraph shall prevent Capture from

  enforcing a breach by Neubig under this Agreement that is not a Triggering Default.

                 d.      Non-disparagement. The Parties agree that, from the Effective Date

  forward, neither Party may make, publish, or endorse any public or private statement, whether

  written or oral, that disparages, defames, criticizes, blames, or otherwise negatively or

  derogatorily portrays a Party to this Agreement. This paragraph shall not apply to (1) any effort

  to enforce this Agreement, (2) a Party's cooperation with law enforcement or a government

  agency or entity, or (3) any act a Party is compelled to perform in legal proceedings or by

  otherwise applicable law.

                 e.      Mutual Release. Except for: (a) a breach or default of this Agreement or

  the Stipulated Judgment and any claims arising by reason of any such breach or default; and (b)

  enforcement of rights, obligations and duties arising under this Agreement or the Stipulated

  Judgment, Neubig and Capture do hereby fully and finally compromise and settle with, and

  forever release, remise, relieve, waive, relinquish and discharge each other from, all claims,

  whether scheduled or filed, all causes or causes of action, suits, debts, dues, demands,

  obligations, charges, costs, expenses (including but not limited to attorneys' fees), sums of

  money, controversies, damages, accounts, agreements, covenants, contracts, judgments,

  reckonings, liens and liabilities of every kind and nature whatsoever, whether at law or in equity,

  whether based upon statute, common law or otherwise, whether matured, contingent or non-

  contingent, whether direct or indirect, whether known or unknown, whether suspected or

  unsuspected, whether or not hidden and without regard to the subsequent discovery or existence

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  of different or additional facts, which Neubig and Capture ever had, now have, or may claim to

  have against each other arising out of, based on, asserted in, or in connection with any matter,

  cause, or thing.

         3.      Notice. Capture may send notices provided for herein to Neubig, at Capture's

  option, by regular United States mail at the following address, or to such other address that

 Neubig shall designate to Capture in writing, as acknowledged by Capture: Michael Andrew

 Neubig, 6977 Dean Farm Road, New Albany, OH 43054; or by electronic mail, to the

 following address, or to such other address as Neubig shall designate to Capture in writing, as

  acknowledged by Capture: mike.neubig@yahoo.com. In the event Neubig's electronic mail

  address or postal address changes, Neubig agrees that he shall provide prompt notice of such

  change to Capture. Unless Neubig has given notice of a change in his mailing or electronic mail

  addresses, notice delivered to the addresses above shall be valid. Capture shall not be

  responsible for any Notice that is not delivered due to a change in notice address that has not

  been provided to Capture. Neubig shall deliver any payments or noticed under this Agreement to

  Capture at: 801 W. Cherry Street, Sunbury, OH 43074, or to such other address as Capture

  may designate to Neubig in writing.

         4.      Time is of the Essence. Time is of the essence with respect to each and every

  covenant, agreement, and obligation of Neubig under this Agreement. There is no grace period

  for any notice or payment due under this Agreement.

         5.      Entire Agreement. This Agreement and the Stipulated Judgment, with all exhibits

  hereto and thereto, constitute the entire agreement and understanding among the Parties with

  respect to their subject matter, and there are no representations, understandings, or agreements

  relative to this Agreement that are not fully expressed in this Agreement and/or the Stipulated

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  Judgment. The Parties acknowledge and agree that there have been no offers or inducements

  which have led to the execution of this Agreement other than as stated in this Agreement. This

  Agreement may not be modified, altered, or amended, in whole or in part, except by a written

  instrument signed by the Party against whom enforcement of any such modification, alteration,

  or amendment is sought.

         6.      Successors and Assigns; No Third Party Beneficiaries. The respective rights and

  obligations of the Parties under this Agreement shall inure to the benefit of their respective

  successors and assigns. There are no third party beneficiaries of this Agreement.

         7.      All Parties are Drafters. This Agreement has been drafted through a cooperative

  effort of all of the Parties, and none of the Parties shall be considered the drafter of this

  Agreement so as to give rise to any presumption or convention regarding construction of this

  Agreement. Each Party to this Agreement represents and warrants that it has, or has had an

  opportunity to, fully review the provisions of this Agreement with attorneys of its own choice as

  a result of which each Party acknowledges that it is entering into this Agreement knowingly,

  voluntarily, and of its own free will.

         8.      Severability. Should any provision of this Agreement be held by any court of

  competent jurisdiction to be illegal, invalid, or unenforceable for any reason, then the remaining

  portions of this Agreement will nonetheless remain in full force and effect, unless such portion of

  the Agreement is so material that its deletion would violate the obvious purpose and intent of the

  Parties with respect to the balance of the Agreement.

         9.      Counterparts. This Agreement may be executed in multiple counterparts, any of

  which need not contain the signatures of more than one Party, but all of which, taken together,




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  shall constitute one and the same agreement. Facsimile or otherwise electronically transmitted

 signatures shall be deemed to have the full force and effect of original ink signatures.

         10.     Bankruptcy Court Jurisdiction. The Bankruptcy Court retains jurisdiction to

  resolve any disputes or controversies arising from or related to this Agreement or the Stipulated

  Judgment and to hear and determine all matters arising from or related to the interpretation or the

  implementation of this Agreement or the Stipulated Judgment. The Parties hereby consent to the

 jurisdiction of the Bankruptcy Court to enter final orders to resolve any disputes or controversies

  between the Parties hereto arising from or related to this Agreement or the Stipulated Judgment.

  Any motion or application brought before the Bankruptcy Court to resolve a dispute arising from

  or related to this Agreement or the Stipulated Judgment shall be brought on proper notice in

  accordance with the relevant Local Rules of Bankruptcy Practice and Procedure of the

  Bankruptcy Court. Nothing in this Agreement or the Stipulated Judgment, however, shall

  prevent Capture from obtaining a certificate of judgment from the Bankruptcy Court, from

  having the Stipulated Judgment or a certificate of judgment recognized as a foreign judgment in

  another court, or from pursuing proceedings in aid of execution under state law in any

  jurisdiction where such a certificate of judgment has been filed or the Stipulated Judgment has

  been recognized.

         IN WITNESS WHEREOF, this Agreement has been executed, effective as of the date

  first written above, by:



                        [The Parties' signatures appear on the following pages]




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                                              MICHAEL ANDR W NEUBIG

                                              By:




  STATE OF OHIO
                                                        SS:
  COUNTY OF        NAil
                   14,
         On this it"day of June, 2018, before me, a Notary Public in and for said State, personally
  appeared MICHAEL ANDREW NEUBIG and in my presence acknowledged that he is duly
  authorized to execute the foregoing Settlement, and he did sign and swear to the foregoing
  Settlement Agreement before me and acknowledged that the same is his free and voluntary act
  and deed.

         In Witness Whereof, I have hereunto set my hand and official seal.



                                                        Notary Public
                                                        My Commission Expires:        ki/


                                                                           VICTORIA E. POWERS
                                                                               Attomey at Law
                                                                          Notary Public, State of Ohio
                                                                    ' My Commission Has No Expiration
                                                                             Section 147.03 R.C.




                           [Signature page for Michael Andrew Neubig]




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                                              CAPTURE EDUCATIONAL CONSULTING
                                              SERVICE', INC.
                                                              4.   4.

                                              By:
                                              Its: Board Chairman

                                                         Daniel H. Quigg
                                              Name:




   STATE OF OHIO
                                              )         SS:
   COUNTY OF     'fra
   On this     day of June2018, before me, a Notary ublic in and for said State, personally
   appeared       C),XV/t U    la,-   as /2.) cc -ho_(01/9--'of Capture Educational
   Consulting Services, Inc., and in my presence acknowledged that he/she is duly authorized to
   execute the foregoing Settlement Agreement on behalf of Capture Educational Consulting
   Services, Inc., and did sign and swear to the foregoing Settlement Agreement before me and
   acknowledged that the same is the free and voluntary act and deed of Capture Educational
   Consulting Services, Inc.

   In Witness Whereof, I have hereunto set my hand and official sealor


                                                        Notary Pub
                                                                                      My Cofnmr.ssion ;64.1,2:
                                                        My Commission Expires:




                 [Signature page for Capture Educational Consulting Services, Inc.]




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